Case 6:00-cr-00178-ACC-KRS Document 214 Filed 09/14/10 Page 1 of 2 PageID 517




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
      UNITED STATES OF AMERICA

      -vs-                                                  Case No. 6:00-cr-178-Orl-22KRS

      JAMES V. SIMMONS, JR.
      __________________________________

                                         ORDER AND NOTICE
                                      OF SHOW CAUSE HEARING

             This cause comes before the Court on a Report and Recommendation (Doc. No. 213),

      entered by the Magistrate Judge after conducting a Final Probation Revocation Hearing

      pursuant to Local Rule 6.01(c)(16) on August 30, 2010.

             After an independent de novo review of the record in this matter, and noting that no

      objections were filed, the Court agrees entirely with the findings of fact and conclusions of law

      in the Report and Recommendation.

             Therefore, it is ORDERED as follows:

             1.      The Report and Recommendation entered August 30, 2010 (Doc. No. 213), is

                     ADOPTED and CONFIRMED and made a part of this Order.

             2.      Defendant shall personally appear before this court on MONDAY, October 4,

                     2010, at 9:00 A.M., at the George C. Young U.S. Courthouse & Federal

                     Building, 401 W. Central Boulevard, Sixth Floor, Courtroom 6A, Orlando,

                     Florida, 32801, and shall show cause why probation should not be revoked.
Case 6:00-cr-00178-ACC-KRS Document 214 Filed 09/14/10 Page 2 of 2 PageID 518




             DONE and ORDERED in Chambers, Orlando, Florida on September 14, 2010.


      Copies furnished to:

      Counsel of Record
      United States Magistrate Judge
      United States Marshals Service
      United States Probation Office
      Courtroom Deputy
      James V. Simmons, Jr.




                                              -2-
